Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 1 of 38 Page ID #:1




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    8

    9                         UNITED STATES DISTRICT COURT

   10                     CENTRAL DISTRICT OF CALIFORNIA

   11
        THE HAVEN AT VENTURA, LLC,               Case No.: 2:22-cv-01284
   12

   13                              Plaintiff,
                                                 COMPLAINT FOR DECLARATORY
   14                                            RELIEF AND DAMAGES
                        vs.
   15
        GENERAL SECURITY INDEMNITY
   16   COMPANY OF ARIZONA;
                                                    DEMAND FOR JURY TRIAL
        WESTCHESTER SURPLUS LINES
   17
        INSURANCE COMPANY;
   18   ENDURANCE AMERICAN SPECIALTY
        INSURANCE COMPANY; CERTAIN
   19
        UNDERWRITERS AT LLOYD'S,
   20   LONDON KNOWN AS SYNDICATES
        QBE 1886, ADV 780, BAR 1955, MSP
   21   318, TMK 510, and TMK 1880; and DOES
   22   1-20, inclusive,

   23                              Defendants.
   24

   25

   26

   27

   28


                                                            COMPLAINT / PAGE 001
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 2 of 38 Page ID #:2




    1

    2
              Plaintiff, THE HAVEN AT VENTURA, LLC, brings this Complaint for
    3
        Declaratory Relief and Damages against Defendants, and each of them, and
    4
        alleges upon knowledge as to its own acts, and upon information and belief as to
    5
        the acts of all others, as follows:
    6

    7                          STATEMENT OF THE CASE
    8

    9
              1. Plaintiff is the owner and operator of the Haven at Ventura—a 231 unit

   10
        luxury residential community in downtown Ventura, California. To protect

   11
        against a broad variety of construction risks during the construction process,

   12   Plaintiff procured builders risk insurance affording first dollar property coverage

   13   for Plaintiff and all contractors at every tier. Builders risk insurance is property

   14   insurance that covers projects under construction, renovation or repair, and it
   15   insures against accidental losses, damages or destruction of property for which
   16   the insured has an insurable interest. The purpose of builders risk insurance is to
   17   compensate for loss due to physical damage or destruction caused to the
   18   construction project itself.
   19
              2. During the course of construction, as alleged more fully herein, Plaintiff
   20
        discovered losses falling within the scope of coverage of its builders risk
   21
        insurance. Consistent with policy conditions, Plaintiff promptly investigated the
   22
        nature, cause, and scope of the losses; hired qualified consultants to perform
   23
        inspections, testing, and investigation of the losses; worked with those consultants
   24
        to formulate and implement a remediation and reconstruction plan; provided
   25
        oversight during the implementation of the plan to ensure the shortest possible
   26
        delay in completion of the project; reported all losses to its insurers promptly and
   27

   28


                                                                  COMPLAINT / PAGE 002
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 3 of 38 Page ID #:3




    1   provided physical access and relevant documentation.
    2
              3. Defendant insurers, the "Underwriters," denied coverage for losses
    3
        caused by mold; losses caused solely by water; and losses resulting from a delay
    4
        in opening the project. As to water losses and mold losses, the Underwriters assert
    5
        an exclusion for mold damage precludes coverage for all such losses, even though
    6
        water damage is explicitly within a separate sublimit. The Underwriters further
    7
        deny coverage under a $1 million coverage extension for mold damage,
    8
        speculating that one of two excluded causes constitutes the efficient proximate
    9
        cause of loss—namely, "dampness of atmosphere" or "faulty workmanship."
   10

   11
        During the investigation, the undisputed physical evidence revealed that

   12
        "dampness of atmosphere" was not a cause in fact of the losses.

   13
              4. The builders risk insurance contains no provisions whereby "faulty
   14
        workmanship" is an excluded cause. The Underwriters assert a policy provision
   15
        entitled "Cost of Making Good" (COMG) functions as a broad exclusion for any
   16
        damage caused by faulty workmanship. In fact, Plaintiff is informed and believes
   17
        the COMG is well known to the Underwriters, and each of them, and that the
   18
        actual function of such contractual language—derived from forms developed by
   19
        the London Engineering Group c. 1996 and used widely in Europe and Canada—
   20
        is directly contrary to the stated rationale underlying the denials of coverage.
   21

   22         5. The coverage position of the Underwriters regarding COMG is not
   23   objectively reasonable based on its language, the known history of the intent and
   24   purpose of such contractual provisions, published and unpublished interpretative
   25   case law, secondary authorities, etc. Plaintiff contends the Underwriters are
   26   specifically and unlawfully motivated to deny coverage, because a covered water
   27   loss or mold loss triggers the additional insurance protection afforded for a
   28


                                                                   COMPLAINT / PAGE 003
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 4 of 38 Page ID #:4




    1   delayed opening. Plaintiff has submitted to the Underwriters all documentation
    2   showing its losses, and it has repeatedly asked the Underwriters to reconsider their
    3   denials of coverage and engage in a meaningful dialogue to avoid litigation.
    4   Plaintiff contends the Underwriters have failed to do so, compelling Plaintiff to
    5   seek its legal remedies in this Honorable Court.
    6
                                          PARTIES
    7

    8          6. At all times relevant to this Complaint, Plaintiff, THE HAVEN AT
    9   VENTURA, LLC, hereinafter "Plaintiff," is, and at all relevant times mentioned
   10   herein was, a South Carolina limited liability company, whose principal place of
   11   business is located in the County of Ventura, State of California. Plaintiff brings
   12
        this action in its capacity as owner of the Project, and as alleged more fully below,
   13
        as the sole agent of each and every insured under the contracts of insurance at
   14
        issue in this action.
   15

   16          7. On information and belief, Defendant, WESTCHESTER SURPLUS
   17   LINES INSURANCE COMPANY, is, and at all relevant times mentioned herein
   18   was, a corporation organized under the laws of the State of Hawaii, whose
   19   principal place of business is located in the State of Georgia.
   20
               8. On information and belief, Defendant, GENERAL SECURITY
   21
        INDEMNITY COMPANY OF ARIZONA, is, and at all relevant times mentioned
   22
        herein was, a corporation organized under the laws of the State of Arizona, whose
   23
        principal place of business is located in the State of New York.
   24

   25          9. On information and belief, Defendant, ENDURANCE AMERICAN
   26   SPECIALTY INSURANCE COMPANY, is, and at all relevant times mentioned
   27   herein was, a corporation organized under the laws of the State of Delaware,
   28


                                                                   COMPLAINT / PAGE 004
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 5 of 38 Page ID #:5




    1   whose principal place of business is located in the State of New York.
    2
              10.    On information and belief, the Defendant, TMK 510, is a corporate-
    3
        owned Lloyd's syndicate, and Tokio Marine Kiln Syndicates Ltd. is the sole
    4
        member of the syndicate, providing 100 percent of its capital. On information and
    5
        belief, Tokio Marine Kiln Syndicates Ltd. is organized under the Laws of England
    6
        & Wales, and has its principal place of business in London, United Kingdom.
    7

    8         11.    On information and belief, the Defendant, TMK 1880, is a corporate-
    9   owned Lloyd's syndicate, and Tokio Marine Kiln Syndicates Ltd. is the sole
   10   member of the syndicate, providing 100 percent of its capital. On information and
   11   belief, Tokio Marine Kiln Syndicates Ltd. is organized under the Laws of England
   12
        & Wales, and has its principal place of business in London, United Kingdom.
   13

   14         12.    On information and belief, the Defendant, QBE 1886, is a corporate-

   15   owned Lloyd's syndicate, and QBE Underwriting Limited is the sole member of
   16   the syndicate, providing 100 percent of its capital. On information and belief,
   17   QBE Underwriting Limited is organized under the Laws of England & Wales, and
   18   has its principal place of business in London, United Kingdom.
   19
              13.    On information and belief, the Defendant, ADV 780, is a corporate-
   20
        owned Lloyd's syndicate. Advent Capital Holdings is the sole member of the
   21
        syndicate, providing 100 percent of its capital. On information and belief, Advent
   22
        Capital Holdings Limited is organized under the Laws of England & Wales, and
   23
        has its principal place of business in London, United Kingdom.
   24

   25         14.    On information and belief, the Defendant, BAR 1955, is a corporate-
   26   owned Lloyd's syndicate, and Arch Insurance (UK) Limited is the sole member
   27   of the syndicate, providing 100 percent of its capital. On information and belief,
   28


                                                                 COMPLAINT / PAGE 005
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 6 of 38 Page ID #:6




    1   Arch Insurance (UK) Limited is organized under the Laws of England & Wales,
    2   and has its principal place of business in London, United Kingdom.
    3
              15.    On information and belief, the Defendant, MSP 318, is a corporate-
    4
        owned Lloyd's syndicate, and Beaufort Underwriting Agency Limited is the sole
    5
        member of the syndicate, providing 100 percent of its capital. On information and
    6
        belief, Beaufort Underwriting Agency Limited is organized under the Laws of
    7
        England & Wales, and has its principal place of business in London, United
    8
        Kingdom.
    9

   10         16.    Plaintiff is ignorant of the true names and capacities of defendants
   11   sued herein as DOES, 1-20, inclusive, and therefore sues each of them by such
   12
        fictitious names. Plaintiff will amend this Complaint to allege their true names
   13
        and capacities at such time as they are ascertained by Plaintiff.
   14

   15         17.    On information and belief, Plaintiff alleges that each fictitiously
   16   named defendant is now, and was at all times mentioned herein, the agent,
   17   principal, partner, joint venture, employee, or alter ego of the remaining
   18   defendants, and that all of the acts and conduct alleged herein were performed
   19   within the course and scope and in the furtherance of such agency, partnership,
   20   joint venture, employment, or alter ego relationship.
   21
              18.     On information and belief, Plaintiff alleges that in engaging in the
   22
        wrongful course of conduct and in committing the wrongful acts and practices
   23
        complained of herein, defendants, and each of them, acted in concert together and
   24
        knowingly and willfully conspired with and agreed among themselves, and aided
   25
        and abetted the others, to further their own economic interest at the expense of the
   26
        economic interests and business security of Plaintiff.
   27

   28


                                                                   COMPLAINT / PAGE 006
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 7 of 38 Page ID #:7




    1                         JURISDICTION AND VENUE
    2
              19.    This court has subject matter jurisdiction pursuant to 28 U.S.C. §
    3
        1332, subd. (a). Complete diversity exists between the parties, and the amount in
    4
        controversy exceeds the sum of $75,000, exclusive of interest and costs—
    5
        collectively as to all defendants and individually as to each defendant based on its
    6
        respective risk participation.
    7

    8         20.    The defendants, and each of them, are subject to personal jurisdiction
    9   in this Court because they transact business in the State of California and/or have
   10   entered into one or more contracts of insurance with Plaintiff to be performed in
   11   the State of California. The defendants also each agreed in their contracts of
   12
        insurance to submit to the jurisdiction of a Court of competent jurisdiction within
   13
        the United States.
   14

   15         21.    Venue is proper in this District pursuant to 28 U.S.C. § 1391, subd.
   16   (b)(2) because a substantial part of the events or omissions giving rise to the
   17   claims for relief alleged herein occurred within this District, and pursuant to
   18   Section 1391, subd. (c)(3) because certain defendants are not residents of the
   19   United States.
   20
              22.    The contracts of insurance at issue in this action (also referred to
   21
        herein as insurance policies and insurance products) apply to business operations,
   22
        real and personal property, insured risks, and related contingent perils within the
   23
        State of California, and therefore, the disputed contractual language is governed
   24
        by California law pursuant to Section 1646 of the California Civil Code; and the
   25
        claims-handling disputes are governed by the common law of California,
   26
        including the implied covenant of good faith and fair dealing; relevant provisions
   27

   28


                                                                  COMPLAINT / PAGE 007
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 8 of 38 Page ID #:8




    1   of the California Insurance Code including Section 791.01 et seq.; and the Fair
    2   Claims Settlement Practices Regulations set forth in Title 10 of the California
    3   Code of Regulations. 10 CCR §§ 2695.1-2695.14.
    4
                                      THE PROJECT
    5

    6         23.    The Haven at Ventura (the "Project") is a 231-unit luxury residential
    7   apartment community located in downtown Ventura, California located along a
    8   bluff overlooking the 101 Freeway and Pacific Ocean. The Project comprises ten
    9   residential buildings using a mix of 2-, 3-, and 4-story building elements and three
   10   building types (i.e., mansion, stacked dwelling, and commercial block). The
   11   Project also includes a 2-story central community building featuring a resident
   12
        lounge, fitness center, yoga room, clubhouse, game room, sunset terrace, and
   13
        outdoor swimming and spa area.
   14

   15         24.    Plaintiff entered into a "Construction Contract"—AIA A102-2007
   16   Standard Form of Agreement Between Owner and Contractor dated July 12,
   17   2018—with Hill Contractors 1 ("Hill") for construction of the Project and
   18   completion of the work set forth in the Construction Contract. Hill later entered
   19   into subcontracts with dozens of subcontractors to perform various scopes of work
   20   required by the Construction Contract.
   21
              25.    On information and belief, Hill entered into subcontract with: (a)
   22
        Sound-Crete Contractors, Inc. (provision and installation of gypcrete subflooring
   23
        on the buildings 2nd, 3rd, and 4th floors); (b) Residential Design Services
   24
        (provision and installation of carpet, tile flooring, and vinyl plank flooring and
   25
        base); (c) Cabinets 2000 LLC (fabrication, assembly, and installation of kitchen
   26
        and bathroom cabinetry); (d) Color Concepts Drywall & Painting (installation and
   27

   28


                                                                  COMPLAINT / PAGE 008
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 9 of 38 Page ID #:9




    1   texturing of interior drywall); and (e) Spectra Painting Company Inc. (preparation
    2   and painting of all residential unit interiors). The work of these subcontractors
    3   was to be managed, sequenced, coordinated, and supervised by Hill. While Hill
    4   and these subcontractors performed work in all buildings at the Project, the work
    5   of Hill and these subcontractors in Buildings 4, 6, 7, 8, and 10 is at issue in this
    6   action.
    7
                                          THE CLAIM
    8

    9         26.    By September 2020, Buildings 4, 6, 7, 8 and 10 were at various
   10   stages of completion, but none of these buildings had received final acceptance
   11   from the City of Ventura or Plaintiff. In or about September 2020 and October
   12
        2020, Plaintiff's ownership representative informed Hill of the discovery of mold
   13
        and water damage on cabinets and other areas of units (under flooring and on
   14
        drywall behind baseboards) in these buildings that had not yet been completed.
   15
        Following the initial discovery, Plaintiff engaged an environmental consultant,
   16
        Vista Environmental ("Vista") who performed multiple additional inspections and
   17
        testing between October and December 2020 on all buildings that had cabinets
   18
        and flooring installed, Buildings 4, 6, 7, 8, and 10. On information and belief, Hill
   19
        engaged separate consultants that performed investigations in October 2020 of
   20
        some or all of these buildings.
   21

   22         27.    During Vista's inspection, visual testing, and destructive testing in
   23   October and November 2020, Vista identified significant mold growth on the
   24   undersides of kitchen and bathroom cabinetry in 2nd, 3rd, and 4th floor units,
   25   lower sections of floor mounted cabinets with elevated moisture content (water
   26   damage) in these units, and gypcrete (a lightweight concrete like material below
   27   the cabinets and plank flooring) with elevated moisture contents. Based on Vista's
   28


                                                                   COMPLAINT / PAGE 009
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 10 of 38 Page ID #:10




     1   initial findings, Vista performed evaluations of additional units in Buildings 4, 6,
     2   7, 8, and 10.
     3
               28.       Vista's inspection and testing determined that remediation and
     4
         reconstruction were required in all units on the 2nd, 3rd or 4th floors of buildings
     5
         4, 6, 7, 8, and 10. The units were found to have mold growth on bathroom and/or
     6
         kitchen cabinets installed on the gypcrete and the vast majority also showed signs
     7
         of water damage. There were no signs of water damage or mold growth observed
     8
         on any of the cabinetry installed on the walls (not in contact with the gypcrete) in
     9
         any units on the 1st, 2nd, 3rd or 4th floors. Additionally, no mold growth or water
    10

    11
         damages was observed in lower kitchen and bathroom cabinets in 1st floor units

    12
         that did not have gypcrete subflooring.

    13
               29.       In consultation with Vista, Plaintiff developed a detailed remediation
    14
         plan to address the mold and water damage in Buildings 4, 6, 7, 8, and 10 and
    15
         determined the estimated cost of this work. Plaintiff provided information about
    16
         the remediation plan and estimated remediation and reconstruction to the
    17
         Underwriters. To implement the remediation and reconstruction plan, Plaintiff
    18
         engaged Restoration Management Company ("RMC") to contain the affected
    19
         units, remove finishes (lower cabinets, countertops, plumbing fixtures, vinyl
    20
         flooring and drywall), perform remediation, and conduct reconstruction
    21
         (reinstallation of lower cabinets, countertops, plumbing fixtures, vinyl flooring,
    22
         drywall and paint) when remediation and drying were shown to be properly
    23
         completed. Vista also performed visual and moisture assessments until
    24
         environmental samples and moisture testing indicated the remediation was
    25
         successfully completed.
    26

    27         30.       The primary remediation and reconstruction efforts began in
    28


                                                                      COMPLAINT / PAGE 010
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 11 of 38 Page ID #:11




     1   December 2020 and continued until July 2021, with some spot remediation and
     2   reconstruction efforts continuing until November 2021 in certain buildings.
     3   Plaintiff, as representative for all contractors, etc., incurred substantial sums in the
     4   investigation,   testing,   remediation,     restoration,   reconstruction,     repairs,
     5   replacement of property, etc. Plaintiff acted promptly, comprehensively and
     6   effectively to address the mold related issues. Despite diligence of Plaintiff, the
     7   completion and opening of the Project was delayed, thereby causing Plaintiff to
     8   sustain further losses including loss of loss of rental income, additional interest
     9   expense on construction loans, legal fees, additional insurance costs, real estate
    10   taxes, and project administration and development costs, and additional cost for
    11   delayed opening.
    12

    13
                              THE BUILDERS RISK POLICY

    14
               31.    Plaintiff, acting through licensed insurance agents and brokers,
    15
         procured a first-party insurance product—commonly referred to as builders risk
    16
         insurance—to protect itself and others against constructions risks during the
    17
         course of construction at the Project. Because of the scope of the Project and
    18
         breadth of attendant construction risks, multiple insurance companies and other
    19
         underwriters participated at various percentages of the total insured risk. The
    20
         respective participants each issued a separate contract of insurance bearing a
    21
         unique policy number and a schedule of the corresponding risk participation. The
    22
         builders risk insurance procured by Plaintiff, referred to herein as "Policy,"
    23
         consists of the following constituent contracts of insurance:
    24

    25         A.     WESTCHESTER            SURPLUS         LINES       INSURANCE
    26                COMPANY issued an insurance policy, No. I11147513 001,
    27                for the policy period 09/05/2018 to 10/30/2021, to named
    28


                                                                      COMPLAINT / PAGE 011
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 12 of 38 Page ID #:12




     1               insured, THE HAVEN AT VENTURA, LLC.
     2
               B.    GENERAL      SECURITY      INDEMNITY        COMPANY     OF
     3
                     ARIZONA issued an insurance policy, No. FA0045121-
     4
                     2018-1, for the policy period 09/05/2018 to 10/30/2021, to
     5
                     named insured, THE HAVEN AT VENTURA, LLC.
     6

     7         C.    ENDURANCE        AMERICAN      SPECIALTY      INSURANCE
     8               COMPANY        issued     an    insurance    policy,    No.
     9               IMU100137145-00, for the policy period 09/05/2018 to
    10               10/30/2021, to named insured, THE HAVEN AT VENTURA,
    11               LLC.
    12

    13
               D.    CERTAIN UNDERWRITERS AT LLOYD'S issued insurance

    14               policies,    Nos.    COC‐18121,       CSN0003960        and

    15               BR93911800015, for the policy period 09/05/2018 to
    16               07/06/2020, to named insured, THE HAVEN AT VENTURA,
    17               LLC.

    18
               E.    CERTAIN UNDERWRITERS AT LLOYD'S issued an
    19
                     insurance policy, No. CSN0009504, for the policy period
    20
                     07/06/2020 to 10/30/2021, to named insured, THE HAVEN
    21
                     AT VENTURA, LLC.
    22

    23         32.   The aforementioned insurance companies and underwriters are
    24   herein collectively referred to as the "Underwriters." Acting through authorized
    25   representatives, they each delivered the Policy to Plaintiff in the State of
    26   California. The shared risk of each Underwriter is scheduled on a Participation
    27   Page. Attached hereto as Exhibit A is true and correct compilation of the
    28


                                                                 COMPLAINT / PAGE 012
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 13 of 38 Page ID #:13




     1   respective Participation Pages of the Underwriters. The aforementioned
     2   constituent contracts of insurance (i.e., insurance policies) each schedule and affix
     3   a common coverage form—designated as Form No. MS-63974 (09/18)—entitled
     4   CONSTRUCTION RISK COVERAGE FORM, hereinafter "Coverage Form."
     5   Attached hereto as Exhibit B is a true, correct, and complete copy of the Coverage
     6   Form.
     7
                 33.   In Part A of the Coverage Form, entitled "Insuring Agreement," the
     8
         Underwriters broadly promised the Policy "insures against direct physical LOSS
     9
         to property of every kind and description intended to become a permanent part of,
    10

    11
         or be consumed in, the construction, fabrication, assembly, installation, erection

    12
         or alteration of the INSURED PROJECT…" The term, INSURED PROJECT, is

    13
         scheduled to mean the Project, as defined above. In Part B, entitled "Extensions

    14   of Coverage," the Underwriters promised to provide additional "extensions of

    15   coverage" including "Limited Coverage for FUNGUS, Wet Rot, Dry Rot or
    16   Bacteria." In Endorsement Number 1, entitled "Delay In Opening Endorsement,"
    17   the Underwriters promised to extend certain insurance coverage including loss of
    18   rental income, soft costs, additional expenses, etc.
    19
                 34.   Section II of the Declarations schedules the dollar amount of
    20
         $69,564,036 adjacent to "Limits of Insurance," and states immediately below,
    21
         "The Company will pay no more for direct physical LOSS in any one
    22
         OCCURRENCE than the above Limit of Insurance." The term OCCURRENCE is
    23
         defined as, "All LOSS attributable directly or indirectly to one originating cause,
    24
         event, incident or repeated exposure to the same originating cause, event or
    25
         incident, or to one series of similar originating causes, events, incidents or
    26
         repeated exposures …"
    27

    28


                                                                    COMPLAINT / PAGE 013
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 14 of 38 Page ID #:14




     1         35.    Section II. also schedules (a) the dollar amount of $1,000,000 as the
     2   annual aggregate sublimit for "Limited Coverage for FUNGUS, Wet Rot, Dry Rot
     3   or Bacteria[;]" (b) the dollar amount of $57,109,085 for "Physical Loss to the
     4   INSURED PROJECT[;]" and (c) the dollar amount of $12,454.951 as the sublimit
     5   for Delay In Opening.
     6
               36.    Part E of the Coverage Form, "Policy Conditions," is subject to an
     7
         endorsement (Endorsement No. 8) that amends and overrides conflicting language
     8
         in the provisions relating to other insurance:
     9

    10                The Policy at PART E—POLICY CONDITIONS, Clause
    11                13. Other Insurance, Clause 14. Contributing Insurance
    12
                      and Clause 15. Excess Insurance are amended to include
    13
                      the following:
    14
                         Notwithstanding anything to the contrary herein, it
    15
                         is agreed that this Policy provides primary
    16
                         insurance for the NAMED INSURED, but only in
    17
                         relation to the INSURED PROJECT as described
    18
                         upon the Declarations. In the event of LOSS which
    19
                         is insured by this Policy be also insured under any
    20
                         other policy(ies) of insurance in effect for the
    21
                         benefit of the NAMED INSURED or any
    22

    23
                         Additional Insureds, and which is of the same type

    24
                         and covering the INSURED PROJECT, this

    25
                         Company will indemnify the NAMED INSURED

    26                   as if such other policy(ies) of insurance did not

    27                   exist and the Company shall waive rights of
    28


                                                                  COMPLAINT / PAGE 014
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 15 of 38 Page ID #:15




     1                   recovery, if any, against the insurer(s) of such
     2                   other policy(ies) of insurance. It is the intent of this
     3                   Policy to only be primary as respects the INSURED
     4                   PROJECT described upon the Declarations.
     5
                                              * * * * *
     6

     7         37.    Section VI. of the Declarations, entitled "Additional NAMED
     8   INSURED Information," extends named insured status to "All owners, all
     9   contractors and subcontractors of every tier, and tenants at the project location, as
    10   required by any contract, subcontract for the INSURED PROJECT…" Section VI.
    11   further provides:
    12
                      The Haven at Ventura, LLC shall be deemed the sole and
    13
                      irrevocable agent of each and every Insured hereunder
    14
                      for the purpose of giving and receiving notices to/from
    15
                      the Company, giving instruction to or agreeing with the
    16
                      Company as respects Policy alteration, for making or
    17
                      receiving payments of premium or adjustments to
    18
                      premium, and as respects the payment for claims.
    19

    20                                        * * * * *
    21
                                   THE CLAIM DENIALS
    22

    23         38.    Pursuant to the terms of the Coverage Form, including the conditions
    24   relating to notice and cooperation, Plaintiff promptly tendered the Claim during
    25   October 2020. The Underwriters engaged separate consultants who performed
    26   investigations of some or all of the subject buildings at the Project. Plaintiff and
    27   others provided the Underwriters with all relevant documentation—including
    28


                                                                      COMPLAINT / PAGE 015
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 16 of 38 Page ID #:16




     1   without limitation inspection reports, expert and consultant reports, cost
     2   estimates, status reports, diagnostic and testing reports, repair and reconstruction
     3   expenses, etc.
     4
               39.    On January 6, 2021, the Underwriters formally acknowledged
     5
         receipt of the Claim in writing and purported to reserve rights on certain language
     6
         in the Coverage Form. On January 12, 2021, the Underwriters disclaimed
     7
         coverage for the Claim stating in part as follows:
     8

     9                The Insurers advise that the facts as presented show that
    10                the mold simply developed and, as quoted above, mold
    11                is an excluded cause of loss. It is only covered to the
    12
                      extent it directly resulted from an occurrence that is
    13
                      covered by the Policies. Here, the mold resulted from
    14
                      either excluded faulty workmanship or excluded
    15
                      dampness of atmosphere, or a combination of both. Thus,
    16
                      the Insurers advise that no coverage is owed based on the
    17
                      facts as presented and the Coverage Form provisions
    18
                      quoted above.
    19
                                             * * * * *
    20

    21         40.    On February 19, 2021, Plaintiff transmitted correspondence to the
    22   Underwriters, rebutting the bases for the denial of coverage. On June 8, 2021,
    23   Underwriters responded to Plaintiff and reaffirmed the January 12, 2021 denial of
    24
         coverage. Plaintiff thereafter engaged insurance counsel to perform a coverage
    25
         analysis of the coverage positions of the Underwriters. On November 15, 2021,
    26
         Plaintiff's counsel provided the Underwriters' counsel with a legal analysis of the
    27
         coverage issues. Based on the policy language affording coverage, Plaintiff's
    28


                                                                   COMPLAINT / PAGE 016
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 17 of 38 Page ID #:17




     1   counsel demanded payment for losses resulting from water; for losses resulting
     2   from mold; and for all losses within the Delay In Opening Endorsement including
     3   loss of rental income. On December 20, 2021, the Underwriters reaffirmed their
     4   denial of coverage.
     5
               41.    On information and belief, the Underwriters each contend that the
     6
         Policy provides no coverage on the following grounds: (a) the Policy's
     7
         exclusionary clause for FUNGUS, Wet Rot, Dry Rot or Bacteria precludes
     8
         coverage for the entirety of the Claim; (b) the Policy's exclusion for "dampness of
     9
         atmosphere" precludes coverage for the entirety of the Claim; (c) the Cost of
    10

    11
         Making Good provisions preclude coverage for the entirety of the Claim; (d) the

    12
         Policy's coverage extension for FUNGUS, Wet Rot, Dry Rot or Bacteria does not

    13
         apply to the Claim or any portion thereof; and (e) the Policy's other coverages do

    14   not apply to the Claim including coverages afforded under the Delay In Opening

    15   Endorsement. Plaintiff disputes each contention of the Underwriters.
    16
                                  FIRST CLAIM FOR RELIEF
    17
                           (Declaratory Relief Against All Defendants)
    18

    19
               42.    Plaintiff incorporates by reference each of the allegations set forth
    20
         above as if set forth herein.
    21

    22         43.    There presently exists an actual justiciable controversy between
    23   Plaintiff and the Underwriters, and each of them, concerning the obligations of
    24   the Underwriters under the Policy for the Claim. Said controversy is ripe for
    25   judicial review and Plaintiff therefore seeks a declaration as to its entitlement to
    26   payment for the insurance benefits described below.
    27
               44.    The Claim, including all of Plaintiff's losses, fall within the scope of
    28


                                                                    COMPLAINT / PAGE 017
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 18 of 38 Page ID #:18




     1   the Insuring Agreement, because each and every item of loss constitutes covered
     2   property at the Project that sustained direct physical loss or damage within the
     3   effective dates of coverage. On information and belief, the Underwriters do not
     4   contend that the Claim falls outside the scope of the Insuring Agreement; rather,
     5   they contend that the following exclusionary clause set forth in the Coverage
     6   Form, hereinafter "Fungus Exclusion," precludes coverage for the entirety of the
     7   Claim:
     8
                      Excluded Causes of LOSS
     9

    10                This Policy does not insure LOSS caused directly or
    11                indirectly by any of the following, and such LOSS is
    12                excluded concurrently, or in sequence to the LOSS:
    13                . . .
    14                14.     Any LOSS or expense consisting of, caused by,
    15                        contributed to, or aggravated by FUNGUS, wet rot,
    16                        dry rot or bacteria, whether directly or indirectly
    17                        the result of an insured peril. This includes, but is
    18                        not limited to, the cost for investigation, testing,
    19                        remediation services, extra expense or business
    20                        interruption. Such LOSS is excluded regardless of
    21                        any other cause or event that contributes
    22                        concurrently or in any sequence to the LOSS.
    23
                                               * * * * *
    24

    25         45.    The Policy affords coverage for damage caused by water. Section
    26   IV. of the Declarations schedules a deductible in the dollar amount of $50,000 for
    27   "LOSS in any one OCCURRENCE caused by or resulting from WATER
    28


                                                                     COMPLAINT / PAGE 018
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 19 of 38 Page ID #:19




     1   DAMAGE[,]" which is defined broadly to mean, "All water damage, except LOSS
     2   caused by or resulting from the peril of FLOOD." Coverage for WATER
     3   DAMAGE to covered property falls within the sublimit of insurance for "Physical
     4   LOSS to the INSURED PROJECT."
     5
               46.   The provisions of the Fungus Exclusion reflect an underwriting
     6
         awareness of, and intent to provide coverage for, mixed claims in which some
     7
         items of covered property sustain injury from an excluded cause and other items
     8
         of covered property sustain injury from an unexcluded cause. For example, the
     9
         second paragraph of the Fungus Exclusion provides in part:
    10

    11               If LOSS otherwise covered by this Policy occurs, and the
    12
                     cost of removal of debris is increased due to the presence
    13
                     of FUNGUS, wet rot, dry rot or bacteria, this Policy will
    14
                     only be liable for the costs of debris removal which
    15
                     would have been incurred had no such factors been
    16
                     present in, on, or about the insured property to be
    17
                     removed.
    18

    19
                                            * * * * *

    20
               47.   An actual controversy has arisen and now exists between Plaintiff
    21
         and the Underwriters concerning their respective rights and duties. Plaintiff
    22

    23
         contends that, even if the Fungus Exclusion precludes coverage for certain items

    24
         of loss, other items of loss sustained damage solely from causes other than mold,

    25
         such as elevated levels of moisture, i.e., WATER DAMAGE, thereby falling

    26   outside the exclusionary scope of the Fungus Exclusion and within the sublimit

    27   of insurance for Physical LOSS to the INSURED PROJECT. On information and
    28


                                                                  COMPLAINT / PAGE 019
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 20 of 38 Page ID #:20




     1   belief, the Underwriters disagree and contend that, because mold damage was the
     2   primary purpose of Plaintiff's investigation, remediation and repairs, etc., the
     3   Fungus Exclusion applies broadly to all related expenses.
     4
               48.    A declaration of the parties' rights and obligations is necessary and
     5
         required in order to resolve the foregoing disputes. A declaratory judgment is both
     6
         necessary and proper under the Declaratory Judgment Act, 28 U.S.C. § 2201, et
     7
         seq., to determine the rights, obligations and liabilities that exist among and
     8
         between the parties. Plaintiff desires a judicial determination and declaration of the
     9
         respective rights, duties and obligations of the parties under the Policy, and
    10

    11
         specifically that the Fungus Exclusion does not preclude coverage for items of loss

    12
         that sustained damage from causes other than mold.

    13
               49.    Wherefore, Plaintiff prays for judgment against Defendants, and each
    14
         of them, as more fully set forth below.
    15

    16                           SECOND CLAIM FOR RELIEF
    17                     (Declaratory Relief Against All Defendants)
    18

    19         50.    Plaintiff incorporates by reference each of the allegations set forth
    20   above as if set forth herein.
    21
               51.    There presently exists an actual justiciable controversy between
    22
         Plaintiff and the Underwriters, and each of them, concerning the obligations of
    23
         the Underwriters under the Policy for the Claim. Said controversy is ripe for
    24
         judicial review and Plaintiff therefore seeks a declaration as to its entitlement to
    25
         payment for the insurance benefits described below.
    26

    27         52.    The Policy affords a coverage extension entitled, "Limited Coverage
    28


                                                                    COMPLAINT / PAGE 020
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 21 of 38 Page ID #:21




     1   for FUNGUS, Wet Rot, Dry Rot or Bacteria," hereinafter "Mold Coverage
     2   Extension," with limits of $1,000,000. The insuring provisions of the Mold
     3   Coverage Extension state:
     4
                     B.     Under this Extension of Coverage, the Company will
     5
                            pay for:
     6

     7                      1.    Direct physical LOSS to insured property at the
     8                            INSURED PROJECT caused by FUNGUS, wet
     9                            rot, dry rot or bacteria, including the cost of
    10                            removal of the FUNGUS, wet rot, dry rot or
    11                            bacteria;
    12
                            2.    The cost to tear out and replace any part of a
    13
                                  building or other insured property as needed to
    14
                                  gain access to FUNGUS, wet rot, dry rot or
    15
                                  bacteria covered by this Endorsement; and
    16
                            3.    The cost of testing performed after removal,
    17
                                  repair, replacement or restoration of the
    18
                                  damaged insured property is completed,
    19
                                  provided there is a reason to believe that
    20
                                  FUNGUS, wet rot, dry rot or bacteria are
    21
                                  present.
    22

    23                                         * * * * *
    24
               53.        The Policy defines FUNGUS to mean, "Any type or form of
    25
         FUNGUS, including mold or mildew, and any mycotoxins, spores, scents or
    26
         byproducts produced or released by fungi."
    27

    28


                                                                    COMPLAINT / PAGE 021
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 22 of 38 Page ID #:22




     1         54.    Plaintiff contends that, if and to the extent that the Fungus Exclusion
     2   precludes coverage for particular losses and loss items in the Claim, the Mold
     3   Coverage Extension attaches to any and all such losses, and that such losses
     4   exceed the annual aggregate sublimit of $1,000,000 under the Mold Coverage
     5   Extension.
     6
               55.    On information and belief, the Underwriters disagree with Plaintiff
     7
         and contend that the Mold Coverage Extension, which is located in Part C,
     8
         Extensions of Coverage, functions as an exception to the Fungus Exclusion, which
     9
         is located in Part D, Exclusions, and therefore Plaintiff bears the burden of proving
    10

    11
         the Claim falls within Mold Coverage Extension. On information and belief, the

    12
         Underwriters further contend that the Mold Coverage Extension is subject to a

    13
         "covered occurrence" requirement, such that Plaintiff bears the burden to prove a

    14   cause in fact of loss that is not within an exclusionary clause. In support of their

    15   contentions, the Underwriters cite to the definition of OCCURRENCE:
    16
               18.    OCCURRENCE
    17
                      All LOSS attributable directly or indirectly to one
    18
                      originating cause, event, incident or repeated exposure to
    19
                      the same originating cause, event or incident, or to one
    20
                      series of similar originating causes, events, incidents or
    21
                      repeated exposures to the same originating cause, event
    22

    23
                      or incident first occurring in the Policy period.

    24                                        * * * * *
    25
               56.    The Underwriters further contend that the mold damage resulted
    26
         from only one of two potential causes of loss, i.e., "dampness of atmosphere" and
    27

    28


                                                                    COMPLAINT / PAGE 022
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 23 of 38 Page ID #:23




     1   "faulty workmanship;" that one is necessarily the efficient proximate cause of all
     2   losses in the Claim; that those two causes are plainly, conspicuously and clearly
     3   excluded under the Policy; and therefore, Plaintiff cannot satisfy its burden of
     4   proving that an exception to the Fungus Exclusion applies under the
     5   circumstances of the Claim. In support of said contentions, the Underwriters rely
     6   upon the excluded cause, "Dryness and dampness of atmosphere[,]" and the
     7   following provisions in Part D of the Coverage Form:
     8
                     17.      Cost of Making Good:
     9

    10                        The costs that would have been incurred to rectify any
    11                        of the following had such rectification been effected
    12                        immediately prior to the LOSS:
    13
                              A.    Fault, defect, error, deficiency or omission in
    14
                                    design, plans, specifications, engineering or
    15
                                    surveying;
    16
                              B.    Faulty or defective workmanship, supplies or
    17
                                    material;
    18

    19                        However, if direct physical LOSS by an insured peril
    20                        ensues, then this Policy will provide cover for such
    21                        ensuing LOSS only.
    22                                           * * * * *
    23

    24
               57.         An actual controversy has arisen and now exists between Plaintiff

    25
         and the Underwriters concerning their respective rights and duties. Plaintiff

    26   contends the Mold Coverage Extension attaches to the Claim, because the

    27   evidence submitted to the Underwriters demonstrates losses exceeding
    28


                                                                       COMPLAINT / PAGE 023
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 24 of 38 Page ID #:24




     1   $1,000,000 as a result of mold. Plaintiff further contends the evidence does not
     2   demonstrate "dampness of atmosphere" is the efficient proximate cause of the
     3   Claim. Plaintiff further contends the purported exclusionary scope of the Cost of
     4   Making Good (COMG) provisions is limited to a small fraction of the Claim, i.e.,
     5   costs that would have been incurred to rectify defects, faulty workmanship, etc.
     6   had such rectification been effected immediately prior to the LOSS.
     7
               58.    On information and belief, the Underwriters disagree with Plaintiff
     8
         and contend, in effect, that Plaintiff bears the burden of disproving excluded
     9
         causes; that conflicting opinion evidence exists regarding "dampness of
    10

    11
         atmosphere" as the efficient proximate cause of loss; that the plain meaning of the

    12
         COMG provisions is that faulty workmanship by any named insured contractor

    13
         constitutes an excluded cause where such faulty workmanship causes damage to

    14   the work of other named insured contractors; that the Mold Coverage Extension

    15   and incorporated definition of OCCURRENCE impose an enforceable contractual
    16   obligation upon Plaintiff to prove a "covered occurrence," i.e., a cause in fact that
    17   is outside the scope of all other exclusionary clauses.
    18
               59.    A declaration of the parties' rights and obligations is necessary and
    19
         required in order to resolve the foregoing disputes. A declaratory judgment is both
    20
         necessary and proper under the Declaratory Judgment Act, 28 U.S.C. § 2201, et
    21
         seq., to determine the rights, obligations and liabilities that exist among and
    22
         between the parties. Plaintiff desires a judicial determination and declaration of
    23
         the respective rights, duties and obligations of the parties under the Policy, and
    24
         specifically that the Mold Coverage Extension applies to the Claim.
    25

    26         60.    Wherefore, Plaintiff prays for judgment against Defendants, and
    27   each of them, as more fully set forth below.
    28


                                                                    COMPLAINT / PAGE 024
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 25 of 38 Page ID #:25




                                  THIRD CLAIM FOR RELIEF
     1

     2
                           (Declaratory Relief Against All Defendants)

     3
               61.    Plaintiff incorporates by reference each of the allegations set forth
     4
         above as if set forth herein.
     5

     6         62.    There presently exists an actual justiciable controversy between
     7   Plaintiff and the Underwriters, and each of them, concerning the obligations of
     8   the Underwriters under the Policy for the Claim. Said controversy is ripe for
     9   judicial review and Plaintiff therefore seeks a declaration as to its entitlement to
    10   payment for the insurance benefits described below.
    11
               63.    The Policy affords additional coverage under the Delay In Opening
    12
         Endorsement, which provides in part as follows:
    13

    14                Subject to all terms, conditions, limitations and
    15
                      exclusions of this Endorsement, and of the Policy to
    16
                      which it is attached, the Company will pay the actual
    17
                      Loss of RENTAL INCOME, Loss of BUSINESS INCOME
    18
                      and/or     SOFT     COSTS/ADDITIONAL           EXPENSES
    19
                      sustained during the PERIOD OF INDEMNITY as a result
    20
                      of a DELAY in completion of the INSURED PROJECT
    21
                      described on the Policy Declarations, or as amended by
    22
                      Endorsement, when such DELAY is caused by an
    23
                      OCCURRENCE or series of OCCURRENCE(S), resulting
    24
                      in physical LOSS to insured property by an insured peril.
    25

    26
                                             * * * * *

    27
               64.    The Delay In Opening Endorsement schedules the dollar amount of
    28


                                                                   COMPLAINT / PAGE 025
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 26 of 38 Page ID #:26




     1   $5,177,009 for loss of RENTAL INCOME, which is defined to mean, "Revenues
     2   from rentals and leases not realized during the PERIOD OF INDEMNITY, which
     3   would have been earned by the NAMED INSURED if the DELAY had not
     4   occurred, less non-continuing expenses." The term DELAY is defined to mean,
     5   "The period of time between the SCHEDULED DATE OF COMPLETION and the
     6   actual date on which commercial operations or use and occupancy can commence
     7   with the exercise of due diligence and dispatch." The term LOSS is defined to
     8   mean, "Accidental loss or damage."
     9
               65.    The Delay in Opening Endorsement also schedules the dollar amount
    10

    11
         of $7,277.942 for "SOFT COSTS / ADDITIONAL EXPENSES," which are defined

    12
         to mean, "Expenditures which are necessarily incurred during the PERIOD OF

    13
         INDEMNITY, which would not have been incurred by the NAMED INSURED

    14   if the DELAY had not occurred…"

    15
               66.    As alleged more fully above, Plaintiff contends that an insured peril
    16
         within the Physical LOSS to INSURED PROJECT sublimit of insurance
    17
         ($57,109,085) and a separate insured peril within the Mold Coverage Extension
    18
         ($1,000,000) caused a physical LOSS to covered property. Plaintiff further
    19
         contends that as result of such insured physical LOSS, Plaintiff sustained an actual
    20
         delay in opening within the meaning of the endorsement's definition of DELAY,
    21
         which exceeded the 14-day WAITING PERIOD. As a result of the DELAY,
    22
         Plaintiff sustained resulting losses within the meaning of the endorsement's
    23
         definition of RENTAL INCOME, SOFT COSTS, and ADDITIONAL EXPENSES
    24
         in amounts to be proven at trial. Plaintiff satisfied all applicable conditions in the
    25
         Coverage Form and the Delay In Opening Endorsement.
    26

    27         67.    An actual controversy has arisen and now exists between Plaintiff
    28


                                                                     COMPLAINT / PAGE 026
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 27 of 38 Page ID #:27




     1   and the Underwriters concerning their respective rights and duties. Plaintiff
     2   contends that the Claim falls with the insuring provisions of the Delay In Opening
     3   Endorsement, whereas on information and belief, the Underwriters contend that,
     4   because the Policy excludes coverage under the Fungus Exclusion, etc., Plaintiff
     5   has not shown or sustained a predicate "insured peril," and therefore the coverage
     6   afforded under the Delay In Opening Endorsement was not triggered and does not
     7   apply.
     8
                  68.   A declaration of the parties' rights and obligations is necessary and
     9
         required in order to resolve the foregoing disputes. A declaratory judgment is both
    10

    11
         necessary and proper under the Declaratory Judgment Act, 28 U.S.C. § 2201, et

    12
         seq., to determine the rights, obligations and liabilities that exist among and

    13
         between the parties. Plaintiff desires a judicial determination and declaration of

    14   the respective rights, duties and obligations of the parties under the Policy, and

    15   specifically that the Claim, including Plaintiff's loss of rental income, are within
    16   the Delay In Opening Endorsement.
    17
                  69.   Wherefore, Plaintiff prays for judgment against Defendants, and
    18
         each of them, as more fully set forth below.
    19

    20                           FOURTH CLAIM FOR RELIEF
    21                      (Breach of Contract Against All Defendants)
    22

    23            70.   Plaintiff incorporates by reference each of the allegations set forth
    24   above as if set forth herein.
    25
                  71.   The Policy, and each constituent contract of insurance, is an
    26
         enforceable contract between Plaintiff—in its individual capacity, and as designee
    27
         of each named insured—and the Underwriters, and each of them.
    28


                                                                    COMPLAINT / PAGE 027
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 28 of 38 Page ID #:28




     1          72.    The Claim presents covered losses under the terms of the Policy.
     2
                73.    Plaintiff has at all relevant times herein performed the terms and
     3
         conditions of the Policy in the manner specified therein except to the extent its
     4
         performance is excused by the Underwriters' breach, default, or failure to perform
     5
         under the terms and conditions of the Policy.
     6

     7          74.    As alleged herein, the Underwriters promised Plaintiff, including
     8   each of the named insureds for whom Plaintiff represents, to indemnify for direct
     9   physical loss or damage to covered property within the effective dates of coverage
    10   and not otherwise excluded.
    11

    12
                75.    Plaintiff sustained losses, including the Claim, and reported same to

    13
         Underwriters on a timely basis and satisfied all post-loss conditions in the Policy.

    14
                76.    The Underwriters have breached the Policy in that they adopted
    15
         erroneous positions regarding the availability of insurance coverage for the Claim,
    16
         as alleged herein, and based thereon refused to fully investigate and indemnify
    17
         Plaintiff.
    18

    19          77.    As a direct and proximate result of the breaching conduct of the
    20   Underwriters, and each of them, Plaintiff has sustained actual damages to be
    21   proven at trial.
    22
                78.    Wherefore, Plaintiff prays for judgment against Defendants, and
    23
         each of them, as more fully set forth below.
    24
         // /
    25

    26   // /
    27
         // /
    28


                                                                   COMPLAINT / PAGE 028
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 29 of 38 Page ID #:29




                                  FIFTH CLAIM FOR RELIEF
     1

     2
                           (Breach of Contract Against All Defendants)

     3
                79.   Plaintiff incorporates by reference each of the allegations set forth
     4
         above as if set forth herein.
     5

     6          80.   The Policy, and each constituent contract of insurance, is an
     7   enforceable contract between Plaintiff—in its individual capacity, and as designee
     8   of each named insured—and the Underwriters, and each of them.
     9
                81.   The Claim presents covered losses under the terms of the Policy.
    10

    11          82.   Plaintiff has at all relevant times herein performed the terms and
    12   conditions of the Policy in the manner specified therein except to the extent its
    13   performance is excused by the Underwriters' breach, default, or failure to perform
    14   under the terms and conditions of the Policy.
    15

    16          83.   As alleged herein, the Underwriters promised indemnify Plaintiff

    17   under the Delay In Opening Endorsement for certain losses including loss of

    18   rental income, hereinafter "Delay Coverage."

    19
                84.   Plaintiff sustained a losses, including the Claim, falling within the
    20
         scope of the Delay Coverage and reported same to Underwriters on a timely basis
    21
         and satisfied all post-loss conditions in the Policy.
    22

    23          85.   The Underwriters have breached the Policy in that they adopted
    24   erroneous positions regarding the availability of Delay Coverage for the Claim,
    25   as alleged herein, and based thereon refused to fully investigate and indemnify
    26   Plaintiff.
    27
                86.   As a direct and proximate result of the breaching conduct of the
    28


                                                                  COMPLAINT / PAGE 029
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 30 of 38 Page ID #:30




     1   Underwriters, and each of them, Plaintiff has sustained actual damages to be
     2   proven at trial.
     3
                87.    Wherefore, Plaintiff prays for judgment against Defendants, and
     4
         each of them, as more fully set forth below.
     5

     6
                                   SIXTH CLAIM FOR RELIEF
     7
                  (Breach of Implied Covenant of Good Faith and Fair Dealing
     8
                                         Against All Defendants)
     9

    10          88.    Plaintiff incorporates by reference each of the allegations set forth
    11   above as if set forth herein.
    12

    13
                89.    Implied in the Policy is the obligation to act fairly and in good faith

    14
         with Plaintiff and to promptly investigate any claims and avoid unfairly denying

    15
         Plaintiff the benefits to which it is entitled under the Policy. The Underwriters at

    16   all times relevant herein owed a duty to act fairly and in good faith with Plaintiff in

    17   meeting their responsibilities under the Policy, including giving Plaintiff's interests

    18   at least as much weight as theirs.
    19
                90.    On information and belief, the Underwriters knew or should have
    20
         known that, when their third-party administrator and counsel issued the various
    21
         disclaimer letters in February, June and December of 2021, the following legal
    22
         rules and principles of California law governed their conduct, their interpretation
    23
         of the Policy, and their formal response to the Claim:
    24

    25                 A. Insurance policy language that grants, describes,
    26                      extends or expands coverage must be interpreted
    27                      broadly in favor of coverage, whereas policy language
    28


                                                                     COMPLAINT / PAGE 030
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 31 of 38 Page ID #:31




     1                   that is restrictive or exclusionary in nature, or which
     2                   otherwise limits coverage, must be construed
     3                   narrowly.
     4
                      B. Insurance carriers are prohibited from placing their
     5
                         interests ahead of the insureds interests.
     6

     7                C. Insurance companies cannot deny coverage on the
     8                   basis of exclusions unless they possess evidence
     9                   conclusively     demonstrating        the     exclusion's
    10                   application under the circumstances of the claim.
    11

    12
                      D. In responding to a claim for insurance benefits,

    13
                         insurance carriers possess a nondelegable duty to

    14                   perform a reasonable investigation including diligent

    15                   efforts to find sources of coverage under the subject
    16                   insurance policy.
    17
                      E. Insurance carriers must respond to claims within
    18
                         specific time parameters under state regulations
    19
                         governing claims handling, and that disclaimer letters
    20
                         must by law include all facts and policy language
    21
                         relevant to the denial of coverage.
    22

    23         91.    The Underwriters' improper and intentionally deceptive underwriting
    24   and claims handling practices have deprived Plaintiff of the full benefit of the
    25   insurance coverage to which it is entitled under the Policy. The conduct of the
    26   Underwriters, and each of them, is part of a larger pattern and practice of improper
    27   and intentionally deceptive underwriting and claims handling intended to deprive
    28


                                                                      COMPLAINT / PAGE 031
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 32 of 38 Page ID #:32




     1   their insureds of the benefits of insurance. The Underwriters breached their
     2   obligation to act fairly and in good faith toward Plaintiff by:
     3
                      A. Misinterpreting policy form language consciously
     4
                         and deliberately;
     5

     6                B. Failing to pay the Claim in a reasonable and proper
     7                   manner and unreasonably withholding of payment
     8                   benefits to Plaintiff;
     9
                      C. Not investigating Plaintiff's claim in a reasonable and
    10

    11
                         proper manner;

    12
                      D. Inventing spurious grounds for avoidance of coverage
    13
                         without regard to the pertinent policy language, facts,
    14
                         or law;
    15

    16                E. Failing to adequately advise Plaintiff of its rights

    17                   under the terms of the Policy;
    18
                      F. Failing   to provide a prompt and reasonable
    19
                         explanation of the bases relied on, in relation to the
    20
                         facts or applicable law, for the denial of coverage;
    21

    22                G. Relying on a legal standard concerning an insurance
    23                   carrier's duty to investigate and pay not recognized
    24                   under California law;
    25
                      H. Compelling Plaintiff to adhere to policy form
    26
                         language dictated by the Underwriters and then
    27

    28


                                                                    COMPLAINT / PAGE 032
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 33 of 38 Page ID #:33




     1                  refusing to adhere to the same policy language;
     2
                     I. Frustrating the agreed upon purpose between Plaintiff
     3
                        and Underwriters of the Policy consciously and
     4
                        deliberately;
     5

     6               J. Characterizing a coverage extension as an exception
     7                  to an exclusion in another section of the insurance
     8                  policy, and importing a "covered occurrence"
     9                  requirement from an ambiguous definition, in order to
    10                  shift the burden to Plaintiff to disprove the application
    11                  of exclusions; and
    12

    13
                     K. Other wrongful and illegal conduct according to proof

    14                  at trial.

    15
               92.   On information and belief, the Underwriters' acts and omissions, as
    16
         alleged herein, were, both collectively and in each individual instance,
    17
         unreasonable and tortious denials of the existence of, and tortious refusals to
    18
         perform, their known contractual obligations.
    19

    20         93.   On information and belief, the Underwriters, and each of them,
    21   possessed both actual and constructive knowledge of the wrongfulness of their
    22   acts and omissions, as alleged herein, contemporaneous with each such act and
    23   omission.
    24
               94.   On information and belief, the Underwriters acts and omissions, as
    25
         alleged herein, constitute a consciously undertaken pattern of conduct by the
    26
         Underwriters that is intentionally contrived to wrongfully deny insureds the
    27

    28


                                                                   COMPLAINT / PAGE 033
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 34 of 38 Page ID #:34




     1   benefits of their insurance coverage and to mislead those insureds into believing
     2   that the wrongful denial is justified.
     3
               95.    On information and belief, the Underwriters' course of action is
     4
         financially motivated so as to directly benefit the Underwriters to the
     5
         corresponding detriment of Plaintiff whose benefit the Underwriters are
     6
         wrongfully denying.
     7

     8         96.    As a direct and proximate result of Underwriters' breach of the
     9   implied covenant of good faith and fair dealing, Plaintiff has suffered damages
    10   including but not limited to expenses relating to its investigation, restoration,
    11   remediation, repair, reconstruction, replacements, loss of rental income,
    12
         additional interest expense on construction loans, legal fees, additional insurance
    13
         costs, real estate taxes, project administration and development costs, and all other
    14
         direct, indirect, consequential, incidental, special, compensatory, and other
    15
         species of damages resulting from Underwriters' conduct alleged herein, including
    16
         without limitation its attorneys' fees and litigation expenses, all of which are
    17
         authorized under California law including Brandt v. Sup.Ct. (Standard Ins. Co.)
    18
         (1985) 37 Cal.3d 813.
    19

    20         97.    On information and belief, Plaintiff asserts that in committing the
    21   aforementioned acts, the Underwriters acted with oppression, fraud, and malice
    22   with the intent to willfully injure, harass, vex, and annoy Plaintiff with a conscious
    23   disregard for Plaintiff's rights. All of the aforementioned alleged acts were done
    24   or ratified by Underwriters' management level employees, who acted with
    25   knowledge that Underwriters' conduct would cause Plaintiff harm. Plaintiff is
    26   therefore entitled to recover punitive damages pursuant to Civil Code § 3294.
    27

    28


                                                                     COMPLAINT / PAGE 034
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 35 of 38 Page ID #:35




     1         98.    Wherefore, Plaintiff pray for judicial relief and judgment as set forth
     2   more particularly below.
     3
                                    PRAYER FOR RELIEF
     4

     5         WHEREFORE, Plaintiff demand judgment against Defendants, and Does 1
     6   through 10, inclusive, as follows:
     7
         On the First Cause of Action:
     8

     9         1. For a declaration that certain damages sustained Plaintiff—including
    10   without limitation the investigation, restoration, and repair expenses—fall outside
    11   the scope of the Fungus Exclusion, even if other items of loss fall within said
    12
         exclusion; and that such damages are within and subject to the sublimit of
    13
         insurance for Physical LOSS to the INSURED PROJECT.
    14

    15         2. For an order pursuant to said declaration that Underwriters must pay
    16   Plaintiff under the Policy for those portions of the Claim that resulted from causes
    17   that are not excluded causes.
    18
         On the Second Cause of Action:
    19

    20         3. For a declaration that the Claim—including without limitation the
    21   investigation, restoration, and repair expenses—fall within the Mold Coverage
    22   Extension.
    23
               4. For an order pursuant to said declaration that Underwriters must pay
    24
         Plaintiff under the Policy and up to the $1,000,000 annual aggregate sublimit for
    25
         all portions of the Claim within the Mold Coverage Extension.
    26

    27   On the Third Cause of Action:
    28


                                                                   COMPLAINT / PAGE 035
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 36 of 38 Page ID #:36




     1         5. For a declaration that the Claim—including without limitation the loss
     2   of rental income, soft costs, and additional expenses—falls within the insurance
     3   coverage afforded under the Delay In Opening Endorsement.
     4
               6. For an order pursuant to said declaration that Underwriters must pay
     5
         Plaintiff under the Delay In Opening Endorsement for its insured losses in an
     6
         amount to be proven at trial.
     7

     8   On the Fourth Cause of Action:
     9
               7. A money judgment in favor of Plaintiff and against the Underwriters for
    10

    11
         any and all contract damages, whether denominated as economic, consequential,

    12
         incidental, etc. including without limitation the full amount of all investigation,

    13
         restoration and repair expenses, plus pre-judgment interest and any additional,

    14   related, or incidental coverage benefits.

    15
         On the Fifth Cause of Action:
    16

    17         8. A money judgment in favor of Plaintiff and against the Underwriters for
    18   any and all contract damages, whether denominated as economic, consequential,
    19   incidental, etc. including without limitation the full amount of all loss of rental
    20   income, soft costs, additional expenses, etc., plus pre-judgment interest and any
    21   additional, related, or incidental coverage benefits.
    22
         On the Sixth Cause of Action:
    23

    24         9. A money judgment in favor of Plaintiff and against the Underwriters for
    25   any and all tort damages, however denominated, including economic losses
    26   resulting from the conduct of the Defendants, and each of them.
    27

    28


                                                                   COMPLAINT / PAGE 036
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 37 of 38 Page ID #:37




     1         10. For attorney fees and litigation expenses.
     2
               11. For punitive and exemplary damages.
     3

     4   On All Claims for Relief:
     5
               12. For all damages to be proven at trial.
     6

     7         13. For pre-judgment interest and post-judgment interest on all sums to be
     8   paid to Plaintiff calculated at the highest legal rate from the earliest possible date.
     9
               14. For costs of suit.
    10

    11         15. And for such other and further relief as the Court deems just and
    12
         equitable under the circumstances.
    13

    14

    15     Dated: February 23, 2022                   By:
                                                           Jeffrey S. Bolender, Esq.
    16                                                Attorneys for Plaintiff
    17

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                                                                     COMPLAINT / PAGE 037
Case 2:22-cv-01284-MEMF-RAO Document 1 Filed 02/24/22 Page 38 of 38 Page ID #:38




     1
                                 DEMAND FOR JURY TRIAL

     2
                Plaintiff hereby respectfully demand a jury trial on any issues that may be
     3
         triable to a jury.
     4

     5
           Dated: February 23, 2022                By:

     6
                                                        Jeffrey S. Bolender, Esq.
     7                                             Attorneys for Plaintiff
     8

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                                                                  COMPLAINT / PAGE 038
